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 15 Counterclaim Plaintiff Le-Vel Brands,
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 16
                       UNITED STATES DISTRICT COURT
 17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                         SOUTHERN DIVISION
 19
      THRIVE NATURAL CARE, INC.,                 CASE NO. 2:21-cv-02022-DOC (KES)
 20

 21                   Plaintiff and              DEFENDANT AND
                      Counterclaim               COUNTERCLAIM PLAINTIFF
 22                   Defendant,                 LE-VEL BRANDS, LLC’S
                                                 APPLICATION TO FILE
 23              v.                              DOCUMENTS UNDER SEAL IN
 24                                              CONNECTION WITH LE-VEL’S
      LE-VEL BRANDS, LLC,                        OBJECTION TO ORDER OF
 25                                              SPECIAL MASTER PURSUANT TO
                      Defendant and              RULE 53(F)
 26
                      Counterclaim
 27                   Plaintiff.
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  1         Pursuant to Civil Local Rule 79-5 and this Court’s Standing Orders, Le-Vel
  2   hereby requests the Court’s permission to file portions of the following documents 1
  3   under seal to protect confidential proprietary information:
  4            • Letter brief from Thrive Natural Care (“TNC”) to Judge Guilford
  5                dated March 23, 2022, including the supporting declaration of
  6                Stephen McArthur (enclosing Exhibits 1-7 to the letter brief)
  7                (collectively, “the March 23rd letter”)
  8            • Letter brief from Le-Vel to Judge Guilford dated March 30, 2022,
  9                including supporting declarations from Morgan E. Smith (enclosing
 10                Exhibits 1 and 2 to the letter brief) and Drew S. Hoffman
 11                (collectively, “the March 30th letter”)
 12            • Letter brief from Le-Vel to Judge Guilford dated April 15, 2022,
 13                including declarations of Mark Sommers and Drew Hoffman
 14                (collectively, “the April 15th letter”)
 15            • Le-Vel’s Objection to Order of Special Master Pursuant to Rule 53(f)
 16         This application is based on the points and authorities below, and the
 17   accompanying Declaration of Carmen Wasserman. The above referenced documents
 18   contain information which has been designated by Le-Vel as confidential or attorneys’
 19   eyes only as explained in the Wasserman Declaration. In the event this application is
 20   denied, Le-Vel requests that the documents be returned to counsel.
 21         “A particularized showing of good cause is required to seal documents related
 22   to non-dispositive motions,” like the one at issue here. Kamakana v. City & Cnty. of
 23   Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). This standard requires less than
 24   “compelling reasons.” Id. Good cause exists where “such ‘court files might have
 25

 26   Le-Vel submits these letters with their attachments with its objection brief in order to
      1
    comply with the procedural requirements of Section 13 to the Order Appointing the
 27 Special Master (Dkt. 89), which requires Le-Vel to submit “documents submitted by
    the parties in connection with the Special Master’s decision that were not otherwise
 28 filed on the ECF system.” However, several attachments to those letters are not at
    issue and are not otherwise relevant the present objection or this Court’s review.
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  1   become a vehicle for improper purposes.’” Id., at 1179. “One factor that weighs in
  2   favor of sealing documents is when the release of the documents will cause
  3   competitive harm to a business.” Apple Inc. v. SamsungElecs. Co., Ltd., 727 F.3d
  4   1214, 1221 (Fed. Cir. 2013) (applying Ninth Circuit law). Information should be
  5   sealed where “competitors could not obtain [the information] anywhere else.” Id. at
  6   1229 (reversing district court’s refusal to seal material after finding compelling
  7   reasons to seal the material). Moreover, identifications of trade secrets are “subject to
  8   any orders that may be appropriate under Section 3426.5 of the Civil Code.” Cal.
  9   Code Civ. P. § 2019.210. Section 3426.5 states that a court “shall preserve the secrecy
 10   of an alleged trade secret by reasonable means, which may include . . . sealing the
 11   records of the action . . . .” Cal. Civ. Code § 3426.5.
 12         Here, good cause exists to protect Le-Vel’s confidential, proprietary
 13   information regarding its licenses, uses of legal counsel, trademark and branding
 14   strategies, and organizational structure. Moreover, attached hereto are (i) versions of
 15   the documents Le-Vel seeks to file under seal with proposed redactions of Le-Vel’s
 16   confidential proprietary information highlighted and (ii) redacted public versions of
 17   the documents Le-Vel seeks to file under seal with only Le-Vel’s confidential
 18   proprietary information redacted in order to aid the public’s ability to understand the
 19   substance of the issues or any decision issued by the Court:
 20             • A redacted public version of Le-Vel’s Objection to Order of Special
 21                Master Pursuant to Rule 53(f) is filed contemporaneously with this
 22                motion.
 23             • A version of Le-Vel’s Objection to Order of Special Master Pursuant
 24                to Rule 53(f) proposed to be filed under seal is attached. Proposed
 25                redactions have been highlighted in yellow.
 26             • A redacted public version of the March 23rd letter is attached to the
 27                Declaration of Mark Sommers filed in support of Le-Vel’s Objection
 28                (“Sommers Decl.”) and lodged contemporaneously with this motion.
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  1             • A version of the March 23rd letter proposed to be filed under seal is
  2                attached. Proposed redactions have been highlighted in yellow.
  3             • A redacted public version of the March 30th letter is attached to the
  4                Sommers Decl. and lodged contemporaneously with this motion.
  5             • A version of the March 30th letter proposed to be filed under seal is
  6                attached. Proposed redactions have been highlighted in yellow.
  7             • A redacted public version of the April 6th letter is attached to the
  8                Sommers Decl. and lodged contemporaneously with this motion.
  9             • A version of the April 6th letter proposed to be filed under seal is
 10                attached. Proposed redactions have been highlighted in yellow.
 11             • A redacted public version of the April 15th letter is attached to the
 12                Sommers Decl. and lodged contemporaneously with this motion.
 13             • A version of the April 15th letter proposed to be filed under seal is
 14                attached. Proposed redactions have been highlighted in yellow.
 15   I.    LE-VEL’S PROPOSED REDACTIONS
 16         Le-Vel is a health and wellness lifestyle company that offering an array of
 17   health and wellness products. Decl. of Carmen Wasserman (“Wasserman Decl.”) at ¶
 18   2. Le-Vel’s business is highly competitive in nature and Le-Vel has invested
 19   considerable time and resources over the years in developing and protecting
 20   proprietary information regarding its business model, including product strategies,
 21   trademark and branding strategies and organizational structure. Id. at ¶ 3. Le-Vel also
 22   regularly relies on in-house and outside counsel for legal advice regarding trademark
 23   and regulatory matters in support of its business strategies. Id. at ¶ 4. Public disclosure
 24   of this information would place Le-Vel at a competitive disadvantage and/or possibly
 25   cause other harm to Le-Vel. See, id.
 26         In order to maintain its competitive position and prevent competitors from
 27   improperly using Le-Vel confidential information, Le-Vel takes steps to prevent
 28   public disclosure of its confidential information. Id. at ¶ 5. To that end, Le-Vel entered
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  1   into a protective order with the Plaintiff so as to keep such information confidential
  2   throughout this litigation. (Dkt. 91.)
  3         The redacted portions of the Le-Vel’s Objection to Order of Special Master
  4   Pursuant to Rule 53(f) contains proprietary confidential information relating to
  5   Le-Vel’s trademark and branding strategies, including the use of outside and in-house
  6   counsel in support of those strategies. Id. at ¶ 6. This information is highly useful in
  7   Le-Vel’s line of business to protect Le-Vel’s trademarks and brand. Id. Le-Vel takes
  8   steps to keep this information private and confidential and disclosure of this
  9   information would place Le-Vel at a competitive disadvantage and/or possibly cause
 10   other harm to Le-Vel. Id. Le-Vel has narrowly tailored its redactions to Le-Vel’s
 11   Objection to Order of Special Master Pursuant to Rule 53(f) to only those portions
 12   containing Le-Vel’s confidential information, so as to aid the public’s ability to
 13   understand the substance of the issues or any decision issued by the Court. Id. Thus,
 14   the unredacted version of the Le-Vel’s Objection to Order of Special Master Pursuant
 15   to Rule 53(f) should be sealed.
 16         The redacted portions of the March 23rd letter contain proprietary confidential
 17   information relating to Le-Vel’s brand and trademark strategies, as well as Le-Vel’s
 18   organizational structure. Id. at ¶ 7. This information is highly useful in Le-Vel’s line
 19   of business to protect Le-Vel’s trademarks and brands. Id. This information also
 20   highly useful in Le-Vel’s line of business to define roles and responsibilities within
 21   the organization. Id. Le-Vel takes steps to keep this information private and
 22   confidential and disclosure of this information would place Le-Vel at a competitive
 23   disadvantage and/or possibly cause other harm to Le-Vel. Id. Le-Vel has narrowly
 24   tailored its redactions to the March 23rd letter to only those portions containing Le-
 25   Vel’s confidential information, so as to aid the public’s ability to understand the
 26   substance of the issues or any decision issued by the Court. Id. Thus, the unredacted
 27   version of the March 23rd letter should be sealed.
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  1         The redacted portions of the March 30th letter contain proprietary confidential
  2   information relating to Le-Vel’s brand and trademark strategies and confidential
  3   licenses. Id. at ¶ 8. This information is highly useful in Le-Vel’s line of business to
  4   protect Le-Vel’s trademarks and brands, and well as to maintain confidential business
  5   arrangements with third parties. Id. Le-Vel takes steps to keep this information private
  6   and confidential and disclosure of this information would place Le-Vel at a
  7   competitive disadvantage and/or possibly cause other harm to Le-Vel. Id. Le-Vel has
  8   narrowly tailored its redactions to the March 30th letter to only those portions
  9   containing Le-Vel’s confidential information, so as to aid the public’s ability to
 10   understand the substance of the issues or any decision issued by the Court. Id. Thus,
 11   the unredacted version of the March 30th letter should be sealed.
 12         The redacted portions of the April 15th letter contain proprietary confidential
 13   information relating to Le-Vel’s brand and trademark strategies, including requests for
 14   legal advice from in-house and outside counsel. Id. at ¶ 9. This information is highly
 15   useful in Le-Vel’s line of business to protect Le-Vel’s trademarks and brands. Id. Le-
 16   Vel takes steps to keep this information private and confidential and disclosure of this
 17   information would place Le-Vel at a competitive disadvantage and/or possibly cause
 18   other harm to Le-Vel. Id. Le-Vel has narrowly tailored its redactions to the April 15th
 19   letter to only those portions containing Le-Vel’s confidential information, so as to aid
 20   the public’s ability to understand the substance of the issues or any decision issued by
 21   the Court. Id. Thus, the unredacted version of the April 15th letter should be sealed.
 22

 23   Dated: May 18, 2022                     FINNEGAN, HENDERSON, FARABOW,
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